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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

 SAIFULLAH KHAN,

                     Plaintiff,

          v.                                                Case No. 3:19-cv-001966-KAD

 YALE UNIVERSITY, ET AL.,
                                                            September 1, 2021
                     Defendants.


                                   JOINT STATUS REPORT

         The Parties (Saifullah Khan, Yale University, the Individual Yale Defendants, and Jane

Doe) jointly submit this Status Report pursuant to the Court’s February 5, 2021 Order (ECF 47).

         At this time, the Second Circuit’s docket indicates that Plaintiff’s appeal is tentatively

scheduled for oral argument during the week of October 25, 2021.



                                                      Respectfully submitted,

                                                      PLAINTIFF SAIFULLAH KHAN


                                                 By: /s/ Norman A. Pattis
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                                                      His Attorney




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                                                DEFENDANT YALE UNIVERSITY AND
                                                THE INDIVIDUAL YALE DEFENDANTS


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                                                DEFENDANT JANE DOE


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                                   CERTIFICATION OF SERVICE

            This is to certify that on this 1st day of September 2021, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s

electronic filing system.



                                                      /s/ Patrick M. Noonan
                                                          Patrick M. Noonan



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